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               IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF PUERTO RICO

JOURNEY RESTAURANT CORP., et al.,

     Plaintiff(s)                          CIVIL NO. 11-1648 (JAG)

          v.

CHICO CORP., et al.,

     Defendant(s)



                         MEMORANDUM AND ORDER

     Before the Court stands Journey Restaurant Corp., Gisela De

Jesus, Zufu Zhang, and Jenny Liu’s (collectively “Plaintiffs”)

motion to remand. For the reasons outlined below, the Court
GRANTS said motion.

                              BACKGROUND

     This action was removed by co-defendant Juping Chi on July

8, 2011. Ms. Chi’s notice of removal indicates that removal is

proper because there exists complete diversity between the
parties. According to Ms. Chi’s motion plaintiffs are: Journey

Restaurant Corporation, which was established in Puerto Rico,

Gisela De Jesus, a citizen of Puerto Rico, Zufu Zhang, a citizen

of Indiana, and Jenny Liu, a citizen of the People’s Republic of

China. Ms. Chi’s motion identifies as defendants: Chico

Corporation, which was established and operates in Puerto Rico,

Ms. Chi, a citizen of Indiana, and Robert Thompson, a citizen of

Indiana. Ms. Chi further argued that removal was proper due to

alienage jurisdiction.
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     Ms. Chi’s attorneys requested leave to withdraw as her

attorneys on August, 2011. The Court denied permission to

withdraw until new representation appeared. (Docket No. 14).

Plaintiffs filed their motion to remand on August 8, 2011. Ms.

Chi requested an extension of time to respond to said motion as

she was in the process of contracting new legal representation.

(Docket No. 16). The Court granted her request and shortly after

Ms. Chi’s attorneys filed a second motion requesting leave to

withdraw due to some serious disputes with Ms. Chi that made

their representation of Ms. Chi virtually impossible. (Docket

Nos. 18-19). The Court granted Ms. Chi’s attorneys leave to

withdraw from the case. (Docket No. 22). Ms. Chi was granted an

additional 30 days to secure new representation. Ms. Chi then

requested that the Court appoint her with new counsel stating

that she could not pay for an attorney. (Docket No. 23). Ms.

Chi’s motion for appointment of counsel is still pending before

this Court. The Court has opted to examine whether jurisdiction

over this dispute is proper before appointing counsel.




                              DISCUSSION

     Ms. Chi’s notice of removal argues that there exists

complete diversity between the parties. The Court disagrees. In

order for the Court to exercise diversity jurisdiction there must

be complete diversity among the parties. See American Fiber &
Finishing, Inc. v. Tyco Healthcare Group, LP, 362 F.3d 136, 139

(1st Cir. 2004)(citing Strawbridge v. Curtiss, 2 L.Ed. 435
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(1806)). Diversity jurisdiction is premised on the idea that all

plaintiffs and all defendants are of diverse citizenship. In the

instant case, Ms. Chi readily admits that complete diversity is

absent because Mr. Zhang, a plaintiff, and herself are citizens

of Indiana. As a result, the Court need look no further as to

whether it can properly exercise jurisdiction.

     Ms. Chi also posits that that the Court enjoys alienage

jurisdiction over this dispute. Ms. Chi accurately points out

that two plaintiffs, Journey Restaurant Corporation (citizen of

Puerto Rico) and Ms. Liu (citizen of the People’s Republic of

China) are diverse from Ms. Chi and Robert Thompson who are both

citizens of Indiana. Title 28 U.S.C. § 1332(a)(2) provides

district courts with original jurisdiction of all civil actions

where the matter in controversy exceeds the sum or value of

$75,000 and is between: (1) citizens of different States; (2)

citizens of a State and citizens or subjects of a foreign state;

(3) citizens of different States and in which citizens or

subjects of a foreign state are additional parties; and (4) a

foreign state. In cases where the dispute encompasses citizens of

a State and subjects of a foreign state jurisdiction may be

proper. However, alienage jurisdiction does not abrogate the

abecedarian requirement of complete diversity in order to sustain

diversity jurisdiction.

     Ms. Chi suggests that jurisdiction is proper because one of

the plaintiffs is a subject of of a foreign state and the

defendants are citizens of Indiana. However, Ms. Chi stated in
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her own motion Zufu Zhang, a plaintiff, is also a citizen of

Indiana. Therefore, no diversity jurisdiction exists.


                              CONCLUSION

     As a result of the foregoining, the Court GRANTS Plaintiffs’

motion to remand.



IT IS SO ORDERED.

In San Juan, Puerto Rico, on January 4th, 2012.



                                       S/ Jay A. Garcia-Gregory
                                       JAY A. GARCIA-GREGORY
                                       United States District Judge
